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            IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF FLORIDA
                    PENSACOLA DIVISION
 NICHOLAS FORD and
 ALONZO HAWKINS,              CASE NO.: 3:24-cv-00404-MCR-ZCB

         Plaintiffs,

 v.

 SOUTHERN ROAD & BRIDGE, LLC,

      Defendant.
 _______________________________/

           DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Defendant, SOUTHERN ROAD & BRIDGE, LLC (“Defendant” or “SRB”),

by and through its undersigned counsel, and pursuant to Rule 56 of the Federal Rules

of Civil Procedure, files its Motion for Summary Judgment, and in support thereof

states as follows:

               CONCISE STATEMENT OF RELIEF REQUESTED

        This is a discrimination, harassment, retaliation and Fair Labor Standards Act

(“FLSA”) case in which Plaintiffs fail to meet their burden to prove such claims.

Alonzo Hawkins (“Hawkins”) and Nicholas Ford (“Ford”)(collectively “Plaintiffs”)

were short-term employees of Defendant who were each paid 213.50 and 129.50

hours of overtime in the 7 months and 9 months, respectively, that they worked for

Defendant, before they decided to voluntarily end their employment with Defendant.




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      Plaintiffs filed an Amended Complaint alleging: Count I, IV, VII, XII, XV,

and XVIII - Race and Color Discrimination in violation of 42 U.S.C. §1981, Title

VII, and Florida Civil Rights Act (“FCRA”), Count II, V, VIII, XIII, XVI, and XIX

- Hostile Work Environment in violation of §1981, Title VII, and FCRA, Count III,

VI , IX, XIV, XVII, XX, XI and XXII - Retaliation in violation of §1981, Title VII,

FCRA, and Fair Labor Standards Act (“FLSA”), and Count X and XXI – in violation

of FLSA.

       Defendant respectfully requests the Court grant summary judgment because

Plaintiffs cannot establish a prima facie case for each of their alleged causes of action.

If the Court finds that Plaintiffs have demonstrated a prima facie case for any of their

causes of action, Defendant requests that the Court grant summary judgment because

Plaintiffs cannot establish that any of Defendant’s alleged employment actions were

for retaliatory or discriminatory reasons.

                             STATEMENT OF FACTS

   1. Ford was interviewed and hired by Foreman, Esequiel Ruiz. (Ex. 1, Ford Dep.

      36:2-8).

   2. Ford began his employment with Defendant as laborer in February 2023.

      (Ford Dep. 35:1-3; 36:4-12; Ex. 8, Ford’s New Hire Packet).

   3. Ford knew Ruiz prior to SRB. (Ford Dep. 63:11-20; Ex. 5, Witt Decla. ¶ 11).

      Alonzo Hawkins is Ford’s brother. (Ford Dep. 63:11; Witt Decl. ¶ 45).

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       Dezmond Jones is their cousin. (Ford Dep. 63:12-13; Witt Decl. ¶ 45).

    4. Ford was paid $22.00 per hour. (Ford Dep. 36:16-18; Ex. G to Witt Decl.).

    5. Ford, who had a valid driver’s license, was added as a driver three weeks after

       his initial hire. (Ford Dep. 36:25-37:7; Witt Decl. ¶ 15). Following this

       change, Ford’s pay increased to $24.00 per hour. (Ford Dep. 36:25-37:7; Witt

       Decl. ¶ 16).

    6. Ruiz picked up Hawkins from his house and introduced him to SRB. (Ex. 2,

       Hawkins Dep. 37:7-16; Witt Decl.¶ 11).

    7. Hawkins was hired by Superintendent, Ryan Witt.1 (Hawkins Dep. 38:8-10;

       Witt Decla. ¶ 11). Hawkins began his employment with Defendant as a laborer

       on April 11, 2023. (Hawkins Dep. 38:2-7; 39:21-24; Ex. 9 Hawkins’ New Hire

       Packet).

    8. Hawkins was paid $23.00 per hour. (Hawkins Dep. 109:8-10; Ex. F to Witt

       Decl.).

    9. If an employee has an issue and requires Human Resources’ attention, the

       employee can discuss any issues with the EEO Officer or HR any time. ( Ex.

       3, Pappas Dep. 46:18-23, Witt Decl. ¶¶ 12-14).

    10. As part of his onboarding, Ford was given a copy of the Handbook. (Ford


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  Plaintiffs decided unilaterally to cancel Witt’s deposition, so his deposition was not
taken but his Declaration was filed in support of this Motion. Witt was the
superintendent who was at and responsible for Plaintiffs’ jobsite.
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   Dep. 39:16-20; Witt Decl. ¶12).

11. Ford admitted that in his review of the Handbook, he is aware of the policies

   regarding filing a complaint with SRB, requesting time off, and submitting a

   two-week notice. (Ford Dep. 40:8-21; 40:22-41:3; 41:4-11).

12. If the employees have any issues about their supervisor, foreman or

   superintendent they have many avenues for help. (Pappas Dep. 94:11-22).

   Employees can call directly the EEO office, the HR department, the project

   manager, or the SRB office. (Id.) Their contact information is in the employee

   handbook and onsite on the job board where it is visible to everyone. (Pappas

   Dep. 94:11-22; 94:23-95:4).

13. Ford and Hawkins both acknowledged the EEO policies. (Witt Decl. ¶ 13;

   Ex. B to Witt Decl.).

14. Hawkins admitted he personally gets along with Witt. (Hawkins Dep.

   47:23-25). He never had previous issues with Witt before the allegations in

   his complaint. (Hawkins Dep. 48:9-12).

15. Ford admitted he never reported to HR an incident in April 2023 about

   Witt’s alleged racial slurs. (Ford Dep. 60:3-14, 60:20-21).

16. Ford admitted they never reported any issues to HR despite acknowledging

   the EEO Policy and knowing that the EEO officer and HR were available

   for reporting complaints to. (Ford Dep. 61:14-15; 61:16-62:10; Witt Decl.

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   ¶¶ 13-14; Ex. B to Witt Decl.).

17. Ford failed to follow policy that required him to immediately report his

   complaints of discrimination and unlawful harassment in writing to the

   EEO Officer. (Ford Dep. 75:21-76:16).

18. Ford and Ruiz’s relationship remained constant, in that he would interact

   as usual including hanging out with Ruiz and smoking a cigarette with him.

   (Ford Dep. 62:11-23).

19. Hawkins never heard Witt used the “N” word with him. (Hawkins Dep.

   124:3-5).

20. From the time he was hired until June 2023, Ford did not have any issues

   with Ruiz. (Ford Dep. 44:14-17).

21. Around July or August 2023, Ruiz suspended Ford for three days after Ford

   was found sleeping on the job. (Ford Dep. 65:14-66:11).

22. Neither Project Manager, George Pappas, Witt, nor Ruiz received any

   complaints from Plaintiffs regarding discrimination or any inappropriate or

   racist language that made them feel uncomfortable. (Pappas Dep. 95:5-11;

   Witt Decl. ¶¶ 40-43; and Ex. 4, Ruiz Dep. 67:17-19).

23. The Foreman and the Superintendent would select employees with a valid

   driver’s license, does not have any criminal issues, or DUI to drive the

   company truck. (Pappas Dep. 24:25-25:6).

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24. Ford had a valid driver’s license and Ruiz authorized him to drive a company

   truck to haul tools and materials. (Ford Dep. 36:25-37:7; Ruiz Dep. 63:22-

   64:18).

25. Dezmond Jones had a valid driver’s license and Ruiz authorized him to drive

   a flatbed truck to haul materials to the yard. (Ruiz Dep. 63:10-20).

26. Hawkins is not an authorized driver of the company vehicles as he does not

   have a valid driver’s license. (Witt Decl. ¶ 37). In fact, Witt once caught

   Hawkins driving the company truck. (Id.) Hawkins was immediately

   reprimanded. (Id.).

27. Ruiz relayed to the crew—not just Plaintiffs—that they all need to go eat an

   hour before work so they could be at the yard on time. (Hawkins Dep. 98:19-

   99:12). Despite acknowledging the EEO Policy and knowing that the EEO

   officer and HR were available for reporting complaints to, Hawkins never

   reported this incident to HR. (Hawkins Dep. 101:24-102:4; Witt Decl. ¶¶ 13-

   14; Ex. B to Witt Decl.). He never reported this incident to anyone else that

   worked at SRB. (Hawkins Dep. 102:5-10). Hawkins never even talked to Witt

   about this issue. (Hawkins Dep. 102:11-19; Witt Decla. ¶ 30).

28. Hawkins stated that Ruiz told Plaintiffs to go under the bridge and use it as a

   bathroom. (Hawkins Dep. 100:22-101:10). Hawkins admits he never reported

   this incident to anybody. (Hawkins Dep. 101:15-20). Hawkins never

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   contacted HR about it claiming he did not have HR’s number. (Id.). Hawkins

   also admitted he never asked for HR’s number. (Hawkins Dep. 101:21-23).

29. The allegations in the Complaint where Ruiz allegedly did not let Black

   employees drive company cars, eat lunch, or use the porta-potties on the job

   site were never reported to Pappas. (Pappas Dep. 83:24-84:1).

30. Between April 11, 2023 and November 9, 2023, Hawkins was paid 213.50 of

   overtime hours. (Ex. F to Witt Decl.; Witt Decl. ¶ 23).

31. Between February 26, 2023 and November 6, 2023, Ford was paid 129.50 of

   overtime hours. (Ex. G to Witt Decl.; Witt Decl. ¶ 24).

32. Hawkins affirmed when he discussed an issue with alleged overtime that was

   not paid, Witt indicated he will fix the issue and the 13 hours owed will be on

   the next check. (Hawkins Dep. 51:2-7; 48:12-16).

33. Hawkins confirmed that the following week SRB did put the 13 hours on the

   paycheck. (Hawkins Dep. 54:1-12). And in July, Hawkins was paid. (Hawkins

   Dep. 78:10-14). Hawkins received an additional amount to remedy his alleged

   overtime that was not paid. (Hawkins Dep. 78:2-14).

34. On November 6, 2023, Hawkins complained to Witt about hours not paid for

   the time period of October 23 to October 29, 2023. (Witt Decl. ¶¶ 18-19; Ex.

   D to Witt Decl.).

35. HR reached out to Hawkins asking him to let the staff know what hours are

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   wrong and even requested for a return call to go over the hours so Hawkins

   gets paid correctly. (Hawkins Dep. 80:5-81:24).

36. Witt instructed Hawkins to call Christina who handles payroll if there are

   discrepancies in his pay. (Ex. E to Witt Decl.; Witt Decl. ¶ 19).

37. Hawkins never spoke to HR directly himself claiming he never had their

   number. (Hawkins Dep. 93:3-94:2; 96:16-25).

38. Hawkins admitted that Pappas reached out to them to discuss their hours.

   (Hawkins Dep. 106:11-14). Pappas asked to meet with Plaintiffs at the

   jobsite but they refused. (Hawkins Dep. 82:8-25).

39. In November 2023, Pappas spoke with Plaintiffs and requested for both of

   them to meet with him to discuss and resolve their issues. (Pappas Dep. 42:5-

   25). But they both declined and said they were going to retain a lawyer and

   sue SRB. (Id.). Plaintiffs refused to engage or provide any documentation.

   (Pappas Dep. 92:20-23).

40. Even before Pappas reached out to Plaintiffs to try to meet and discuss their

   hours if there were any discrepancies, Plaintiffs had already stopped showing

   up for work for multiple days. (Exs. H and I to Witt Decl.). Plaintiffs never

   provided any notice to their supervisor or Pappas of their absence. (Pappas

   Dep. 92:24-93:10).

41. Before Plaintiffs, Pappas never had a complaint from a single employee

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   regarding any unlawful conduct. (Pappas Dep. 17:1-6).

42. Ruiz never signed Plaintiffs’ name on any daily time sheet. (Ruiz Dep. 47:24-

   48:1).

43. The time sheets were left in the company truck’s unit folder and everyone had

   the ability to verify their hours worked at their leisure and if any hours

   required adjustment, they were fixed immediately. (Ruiz Dep. 67:25-68:13).

44. On Nov. 5, 2023, Witt contacted Ford by phone and gave him the

   opportunity to come back to work; however, Ford refused. (Ford Dep. 71:6-

   72:4; Witt Decl. ¶ 57).

45. On Nov. 6, 2023, Pappas texted Ford to inform him he will be voluntarily

   terminated for job abandonment. (Ford Dep. 68:18-69:17; Ex. J to Witt

   Decl.). Pappas then texted back requesting for a call so he can discuss

   Ford’s return to work. (Id.) Ford did not call Pappas. (Id.)

46. Ford told Pappas to text him as he was in school attending orientation. (Ford

   Dep. 69:18-25; Ex. J to Witt Decl.).

47. On November 6, 2023, Ford was voluntarily terminated for job

   abandonment. (Ex. I to Witt Decl.; Witt Decl. ¶¶ 57-58). Ford admitted he

   had not reported to work for five (5) work days since October 24, 2023.

   (Ford Dep. 73:24-74:1). Ruiz and Witt tried contacting Ford many times

   but he refused to answer his phone. (Witt Decl. ¶ 57). This was a resignation

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   and not an SRB-initiated termination. (Ex. I to Witt Decl.; Witt Decl. ¶ 58).

48. Ford was paid for all work and SRB made efforts to ensure Ford was paid.

   (Ford Dep. 67:21-68:5; Ex. G to Witt Decl.).

49. Hawkins was paid for all work and SRB made efforts to ensure Hawkins

   was paid. (Ex. F to Witt Decl.).

50. On November 9, 2023, after Hawkins has not called nor showed up to work

   for two (2) days, Witt, Pappas, and Ruiz attempted to contact Hawkins by

   calls and text messages. (Witt Decl. ¶¶ 54-56). However, Hawkins blocked

   both Ruiz and Witt and refused to speak to them. (Witt Decl. ¶ 56). Hawkins

   never asked for permission to go on leave. (Id.). As a result, Hawkins was

   voluntarily terminated for “no call, no show.” (Ex. H to Witt Decl.; Witt Decl.

   ¶¶ 54-56).

51. This was a resignation and not an SRB-initiated termination. (Ex. H to Witt

   Decl.; Witt Decl. ¶ 54).

52. In the past year, SRB has voluntarily terminated two to four employees for

   absenteeism or “no call, no show.” One of these terminated employees was

   White. (Pappas Dep. 40:6-42:1).

53. Plaintiffs did not seek treatment for emotional pain and mental anguish.

   (Hawkins Dep. 110:13-24; 111:9-13; Exs. 6 and 7, Plaintiffs’ Res. to Def.’s

   Interrog. Nos. 9, 10, 18 and 19).

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   54. Following their voluntary terminations, Plaintiffs have failed to obtain

        subsequent employment. (Ex. 10, Attestation of No Records).

                             MEMORANDUM OF LAW

   I.      Defendant is Entitled to Summary Judgment for Count I, IV, VII, XII,
           XV, and XVIII – Race and Color Discrimination – Because Plaintiffs
           Failed to Establish a Prima Facie § 1981, Title VII and FCRA Action

   A. Plaintiffs Cannot Present Direct Evidence to Show that But-For Their
      Color/Race Their Employment Would Not Have Ended

        Plaintiffs have not and cannot establish a prima facie case of discrimination

because Plaintiffs have identified no direct or circumstantial evidence of

discrimination under 42 U.S.C. § 1981, Title VII, and the FCRA.

        42 U.S.C. § 1981 “prohibits intentional racial discrimination in the making

and enforcement of private contracts, including employment contracts.” Washington

v. Kroger Co., 218 Fed. App’x 822, 824 (per curiam) (11th Cir. 2007). “The elements

of a section 1981 claim in the employment context are the same as the elements of a

Title VII claim.” Harrison v. Belk, Inc.,748 Fed. App'x 936, 941 (11th Cir. 2018)

(citation omitted). However, the test under Section 1981 is whether there was intent

to discriminate because of race. E.g., Rutstein v. Avis Rent-A-Car Sys., Inc., 211 F.3d

1228, 1235 (11th Cir. 2000). Meanwhile, the Florida Civil Rights Act (“FCRA”) “is

patterned after Title VII, and therefore federal case law regarding Title VII is

applicable.” Maldonado v. Publix Supermarkets, 939 So. 2d 290, 293 n.2 (Fla. 4th

DCA 2006) citing Castleberry v. Edward M. Chadbourne, Inc., 810 So.2d 1028,
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1030 (Fla. 1st DCA 2002). Courts have determined that there is no need to discuss

Title VII disparate treatment claims separately from other claims when the legal

elements of the claims are identical. Crawford v. Carroll, 529 F.3d 961, 970 (11th

Cir. 2008).

      To establish a Title VII claim, a plaintiff may “present[] direct evidence of

discrimination or circumstantial evidence that creates an inference of

discrimination.” Jolibois v. Florida Intern. Univ. Bd. of Trustees, 92 F.Supp.3d

1239, 1243 (S.D. Fla. 2015); aff’d, 654 Fed. Appx. 461 (11th Cir. 2016)(citing Giles

v. Daytona State Coll., Inc., 869 Fed. Appx. 869, 872 (11th Cir. 2013)). Direct

evidence is defined as “evidence that establishes the existence of discriminatory

intent behind the employment decision without any inference of presumption.”

Burrell v. Bd. of Trustees of Georgia Military Coll., 125 F.2d 1393, 1394 (11th Cir.

1997)(holding that evidence which suggests but does not prove discriminatory

motive is circumstantial evidence by definition). To be direct evidence, the treatment

complained of must be motivated by discrimination on the basis of the protected

class. Figueira v. Sch. Bd., 2007 U.S. Dist. LEXIS 84713, at *4 (S.D. Fla. Oct. 11,

2007). Thus, remarks by non-decision makers or remarks unrelated to the decision-

making process itself are not direct evidence of discrimination. Quinones v.

McDonough, No. 3:20CV6005-TKW-HTC, 2022 WL 19408079, at *6 (N.D. Fla.

Apr. 15, 2022); Claybrone v. Goldring Gulf Distrib., No. 3:12CV381/MCR/CJK,

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2015 WL 5619523, at *6 (N.D. Fla. Aug. 27, 2015), report and recommendation

adopted, No. 3:12CV381/MCR/CJK, 2015 WL 5595694 (N.D. Fla. Sept. 21, 2015).

      Here, Plaintiffs have presented no direct evidence that they underwent any

treatment different from other employees at SRB. Plaintiffs rely on circumstantial

evidence because their argument that Defendant discriminated against them is based

on inferences.

   B. Plaintiffs Cannot Present Circumstantial Evidence to Show that But-For
      Their Color/Race Their Employment Would Not Have Ended

      When Plaintiffs’ allegations are considered under the standards for

circumstantial evidence, their claim also fails. Under the McDonnell Douglas

analysis, to establish a prima facie case of discrimination Plaintiffs must show that

(1) they were a member of a protected class, (2) they were qualified for the position

at issue, (3) they suffered an adverse employment action, and (4) other similarly

situated employees outside the class were treated more favorably.” Rice-Lamar v.

City of Ft. Lauderdale, Fla., 232 F.3d 836, 842-43 (11th Cir. 2000). See also Alvarez

v. Royal Atl. Devs.,Inc., 610 F.3d 1253, 1264 (11th Cir. 2010) (citing McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973)).The

burden placed on a plaintiff of establishing a prima facie case “serves, in part, to

assure that the plaintiff has some competent proof that she was treated differently

than similarly situated employees.” Schultz v. Board of Trustees of University of


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West Florida, 2007 WL 2066183, at *2 (N.D. Fla. July 13, 2007) quoting Lang v.

Star Herald, 107 F.3d 1308, 1312 (8th Cir. 1997).

      While Plaintiffs are members of a protected class and were qualified for their

position, they cannot establish a prima facie claim for discrimination because

Plaintiffs did not suffer adverse employment actions, were not treated less favorably

than others outside of the protected class, and Plaintiffs cannot establish that

race/color is the reason for their termination.

      i.     Plaintiffs Did Not Suffer Adverse Employment Action

      To prevail on a race discrimination claim, Plaintiffs must prove that the

employer subjected the employee to an adverse employment action. An “adverse

employment action” is “a serious and material change in the terms, conditions, or

privileges of employment.” See Crawford v. Carroll, 529 F.3d 961, 970-71 (11th

Cir. 2008) (internal quotation marks omitted). However, even under the lightened

burden recently decided by the Supreme Court of “some harm” Plaintiffs have not

suffered any harm, let alone some harm. Muldrow v. City of St. Louis, 601 U.S.

(2024).

      Plaintiffs were not subject to an adverse employment action. Plaintiffs were

not terminated from their position, but they each voluntarily quit. Ford admitted

as of November 6, 2024, he has not gone to work for five (5) days and did not

return to work even after attempts to contact him to return to work. (Ford Dep.

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73:24-74:1). Meanwhile, Hawkins was voluntarily terminated for “no call, no

show” after attempts were made to contact him when he did not show up to work

for two days. This is not an SRB-initiated termination. (Ex. H to Witt Decl.; Witt

Decl. ¶ 54).

       As explained in former SRB Superintendent, Ryan Witt’s Declaration,

under the Handbook, a voluntary employment termination is initiated by the

employee and is deemed as “resignation.” As opposed to an employment

termination initiated by Defendant, which is considered a “discharge.” (Witt Decl.

¶¶ 55, 59; Ex. A to Witt Decl.).

       Ruiz and Witt tried contacting Ford many times but he refused to answer his

phone. (Ex. J to Witt Decl.; Witt Decl. ¶ 57). Ford still refused to come back to work

after Witt spoke with him on November 5, 2023 and offered him to come back. (Ford

Dep. 71:6-72:4; Witt Decl. ¶ 57).

       Pappas even texted Ford that he will be voluntarily terminated for job

abandonment. (Ford Dep. 68:18-69:17; Ex. J to Witt Decl.). Ford still refused to

come back to work. (Id.). Ford texted Pappas and told Pappas to contact him by text

only as he was in school attending orientation. (Id.). It was later found out that Ford

enrolled in a career pathway program. (Witt Decl. ¶ 58). As such, this was a

resignation and not an SRB-initiated termination. (Ex. I to Witt Decl.; Witt Decl. ¶

58).

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      Meanwhile, Hawkins did not call nor show up for work for two (2) days.

Multiple employees tried to call Hawkins but he never responded and blocked all his

team members’ numbers, illustrating his intent to quit the position. (Witt Decl. ¶ 56).

Pappas tried to text Hawkins to ask if he is going to work. Hawkins never responded.

(Witt Decl. ¶¶ 54-56, Ex. H to Witt Decl.). Like Ford, this was a resignation and not

an SRB-initiated termination.

      Assuming, arguendo, that Plaintiffs were involuntarily terminated—which

clearly they were not— Courts have determined that “where ... ‘the hirer and the

firer are the same individual and the termination of employment occurs within a

relatively short time span following the hiring, a strong inference exists that

discrimination was not a determining factor for the adverse action taken by the

employer.’” E.E.O.C. v. Florida Commercial Sec. Services, Corp., No. 13-20465-

CIV, 2014 WL 4771887, at *16 (S.D. Fla. Sept. 24, 2014)(internal citations omitted).

      Here, Witt hired Plaintiffs. Ford worked with SRB for 9 months; Hawkins

worked for 7 months. Ford was interviewed by Ruiz and Ruiz recommended

Plaintiffs to Witt (Ford Dep. 36:2-8; Witt Decl. ¶¶ 11, 64). Witt admits he hired

Plaintiffs knowing they are Black. He was told by Ruiz Plaintiffs were good workers.

He would not have hired Plaintiffs if his intent were to discriminate. (Witt Decl. ¶

64). More importantly, SRB would not have made such efforts to inundate Plaintiffs

with calls and texts to ask them to come back to work if their intent was to

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discriminate and terminate. “Claims that employer animus exists in termination but

not in hiring seem irrational….From the standpoint of the putative discriminator,

‘[i]t hardly makes sense to hire workers from a group one dislikes (thereby incurring

the psychological costs of associating with them), only to fire them once they are on

the job.’” Dingman v. Delta Health Group, Inc., 26 F. Supp. 2d 1349, 1354–55 (S.D.

Fla. 1998)(internal citations omitted).

      Ultimately, Plaintiffs voluntarily left their position. Plaintiffs cannot establish

that race/color was the reason for their termination. There is no evidence to support

Plaintiffs’ claims that they suffered an adverse employment action.

      ii.    Plaintiffs Were Not Treated Less Favorably than Others Outside
             of the Protected Class; Therefore, They are Unable to Establish a
             Prima Facie Claim of Discrimination and Counts I, IV, VII, XII,
             XV, and XVIII Must be Dismissed

      Plaintiffs have presented no evidence that they underwent any treatment

different from other employees at SRB. “In determining whether employees are

similarly situated for purposes of establishing a prima facie case, it is necessary to

consider whether the employees are involved in or accused of the same or similar

conduct and are disciplined in different ways. The employee must show that []he

and the employees outside [his] protected class are similarly situated ‘in all relevant

respects.’ Thus, ‘the quantity and quality of the comparator's misconduct [must] be

nearly identical to prevent courts from second-guessing employers' reasonable

decisions and confusing apples with oranges.’” Valenzuela v. GlobeGround N. Am.,
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LLC, 18 So. 3d 17, 22-23 (Fla. 3d DCA 2009)(citations omitted); see also Schultz v.

Bd. of Trs. Of Univ. of W. Fla., 2007 WL 2066183, at *11 (N.D. Fla., July 13, 2007).

      A similarly situated comparator will ordinarily have engaged in the same basic

misconduct as the Plaintiffs, been subject to the same employment policy, guideline,

or rule, shared the same supervisor, and shared the Plaintiffs’ employment or

disciplinary history. Lewis v. City of Union City, 918 F.3d 1213 (11th Cir. 2019).

      To be clear, it is Plaintiffs burden to identify such similarly situated

comparators. The “burden is on the plaintiff to show the similarity between his or

her conduct and that of other employees who were treated differently, and not on the

defendant to disprove their similarity” Dept. of Children and Family Services v.

Garcia, 911 So. 2d 171, 173- 74 (Fla. 3d DCA 2005) quoting Moreland v. Miami-

Dade County, 255 F. Supp. 2d 1304, 1312 (S.D. Fla. 2002).

      “If a plaintiff fails to show the existence of a similarly situated employee,

summary judgment is appropriate where no other evidence of discrimination is

present.” Coar v. Pemco Aeroplex, Inc., 372 Fed. Appx. 1, 3 (11th Cir. 2010).

      Plaintiffs raise these discrimination claims without a scintilla of evidence that

Hispanic employees were given favorable treatment over Black employees. In fact,

Plaintiffs fail to name one Hispanic employee that was given favorable treatment.

Plaintiffs complained that Black employees are not being allowed to stop for food

before going to the jobsite and are denied lunch breaks, while Hispanic employees

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are being allowed such. However, Hawkins admitted that Ruiz relayed to the entire

crew—not just Plaintiffs—that they all need to go eat an hour before work so they

could be at the yard on time. (Hawkins Dep. 98:19-99:12). This was a directive

applicable to all employees including Blacks, Caucasians, and Hispanics, etc. Even

if this was an issue—which clearly it is not as it was addressed to all crew

members—Hawkins never reported this incident to HR claiming he did not have

HR’s number. Hawkins never even talked to Witt about this issue.

      Witt denied the alleged discriminatory treatment of Black employees

compared to Hispanic employees. Witt is not aware of Hispanic employees being

allowed to stop for food, while Black employees were not. Witt also stated that he

was not aware of any Black employees being denied a lunch break because none of

the employees ever complained to him. (Witt Decl. ¶¶ 30-35).

      Plaintiffs also purport that Black employees are denied access to operate the

company vehicles, while Hispanics are allowed such. Plaintiffs forget the glaring

fact that Ford had a valid driver’s license and Ruiz authorized Ford to drive a

company truck to haul tools and materials. Plaintiffs’ cousin, Dezmond Jones—a

Black Male—had a valid driver’s license and Ruiz also authorized him to drive a

flatbed truck to haul materials to the yard. (Ruiz Dep. 63:10-20). Per Defendant’s

policy, only employees with a valid driver’s license, does not have any criminal

issues, or DUI are authorized to drive the company vehicles. (Pappas Dep. 24:25-

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25:6). Hawkins is not an authorized driver of the company vehicles because he does

not have a valid driver’s license. (Witt Decl. ¶ 37). The only reason Hawkins is not

allowed to drive the company truck is because he did not have a valid driver’s license

and had nothing to do with race or color. Especially, when Ford and Jones were

clearly authorized to drive the company vehicles.

      As to complaints about Black employees not being allowed to use the

restroom, Hawkins admits he never reported this incident to anyone. Hawkins never

contacted HR about it claiming he did not have HR’s number. (Hawkins Dep.

101:15-20; Witt Decla. ¶¶ 49-51). Also, issues about Ruiz not letting Black

employees drive company cars, eat lunch, or use the porta-potties on the job site

were never reported to Pappas. (Pappas Dep. 83:24-84:1). Because that did not

happen.

      Notably, just like Plaintiffs, a Caucasian comparator was voluntarily

terminated for “no call, no show.” (Pappas Dep. 40:6-42:1).

      Accordingly, Plaintiffs fail to establish a prima facie case of race/color

discrimination because they have not, nor cannot show that anyone outside of their

protected class were treated more favorably, and on this basis alone summary

judgment should be granted in favor of Defendant.




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        iii.   Plaintiffs Cannot Establish Intentional Discrimination as Required
               by Section 1981; Therefore, Summary Judgment is also
               Appropriate as to Counts I and XII

        Section 1981 requires a Plaintiff to prove intentional discrimination.

Washington v. Kroger Co., 218 F. App’x 822, 824 (11th Cir. 2007) (per curiam) Here,

as noted above, Plaintiffs have not produced any evidence to establish discrimination

under Title VII, or the FCRA, and Plaintiffs are unable to establish any evidence that

supports their claim for intentional discrimination under Section 1981. Therefore,

Summary Judgment is proper as to Plaintiffs’ claim of discrimination under Section

1981.

        iv.    Plaintiffs Cannot Prove That Defendant’s Legitimate, Non-
               Discriminatory Reasons for Employment Actions Were False;
               Therefore, Summary Judgment is also Appropriate as to Counts I,
               IV, VII, XII, XV, and XVIII

        Even if Plaintiffs have established a prima facie case of discrimination,

Defendant is still entitled to summary judgement because all actions taken toward

Plaintiffs were based on legitimate, non-discriminatory reasons, and Plaintiffs

cannot prove pretext masking unlawful discrimination.

        Once Plaintiffs successfully establish a prima facie case of discrimination, the

burden shifts to the employer to articulate a legitimate, non-discriminatory reason

for its action. Alvarez v. Royal Atl. Devs., Inc., 610 F.3d 1253, 1264 (11th Cir. 2010).

The employer must explain the reasons for its actions but need not persuade the court

that it was actually motivated by its proffered reasons. Id. If the employer articulates
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one or more legitimate, non-discriminatory reasons for its action, Plaintiffs must

show that the employer’s reason was pretextual. Holland v. Gee, 677 F.3d 1047,

1055 (11th Cir. 2012). To show pretext, an employee must specifically respond to

the employer’s proffered reason and produce evidence directly rebutting that reason.

Id. If the proffered reason is one that would motivate a reasonable employer, an

employee cannot simply quarrel with the wisdom of the employer’s decision. Id. A

proffered reason cannot “be a pretext for discrimination unless it is shown both that

the reason was false, and that the discrimination was the real reason.” St. Mary’s

Honor Ctr. v. Hicks, 509 U.S. 502, 515 (1993) (internal quotation marks and

emphases omitted). Despite the shifts in burden of production under the McDonnell

Douglas standard, the employee still carries the ultimate burden of persuasion at all

times.

         Here, Plaintiffs offer no evidence that the basis for the employment action was

false, as outlined in the Statement of Facts. Ford admitted by November 6, 2024, he

has not gone to work for five (5) days. (Ford Dep. 73:13-74:1). Hawkins has not

called nor showed up to work for two (2) days. (Witt Decl. ¶ 54). Even before Pappas

reached out to Plaintiffs to try to meet and discuss their hours if there were any

discrepancies, Plaintiffs had already stopped showing up for work for multiple days.

Plaintiffs never provided any notice to their supervisor or Pappas of their absence.

(Pappas Dep. 92:24-93:10). Plaintiffs could not deny the multiple text messages and

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follow up calls, even Ford’s request to Pappas to text him back as he was in school

attending orientation. (Ex. J to Witt Decl.; Witt Decl. ¶¶ 57-58).

      The relevant inquiry in a pretext analysis is not whether the employer's

proffered reasons were wise, fair, or correct, but instead whether the employer

believed those reasons to be true and acted in good faith upon those beliefs. See

Vickers v. Federal Express Corp., 132 F. Supp. 2d 1371, 1381 (S.D. Fla. 2000) (“The

issue of pretext has nothing to do with the employee's perception of fairness.”).

      Plaintiffs’ complete failure to present any evidence of disparate treatment also

prevents them from establishing that the reasons for any adverse employment action

were a pretext for discrimination. Valenzuela, 18 So. 3d at 26, citing Morrow v. Wal-

Mart Stores, Inc., 152 F.3d 559, 561 (7th Cir.1998) (the similarly situated inquiry

remains the same “[w]hether couched in terms of establishing a prima facie case or

in terms of demonstrating pretext...”).

      Plaintiffs simply cannot legally meet their burden of proving pretext for

discrimination by offering their subjective disagreement that any and all actions

taken in respect to their employment were the result of discrimination. Plaintiffs fail

to establish a prima facie case of race/color discrimination. Thus, summary judgment

should be granted in favor of Defendant.




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   II.      Defendant is Entitled to Summary Judgment for Count II, V, VIII,
            XIII, XVI, and XIX - Hostile Work Environment – Because Plaintiffs
            Failed to Establish a Prima Facie § 1981, Title VII, and FCRA action

         To establish a prima facie case of hostile work environment, Plaintiffs must

prove all of the following elements: (1) Plaintiffs belong to a protected group; (2)

Plaintiffs were subjected to harassment which was unwelcome and offensive; (3) the

harassment was based on their protected characteristic; (4) the harassment was

sufficiently severe or pervasive to alter the terms and conditions of employment and

create a discriminatorily abusive working environment; and (5) there is a basis for

holding the employer liable. Reeves v. C.H. Robinson Worldwide, Inc., 594 F.2d 798,

809 (11th Cir. 2010)(en banc)(citations omitted).

         In order to hold the employer liable, Plaintiffs must show that Defendant knew

or should have known of the alleged harassment and failed to take prompt remedial

action. Henson v. City of Dundee, 682 F.2d 897, 904 (11th Cir. 1982). An employee

can meet this showing by demonstrating either that the employer knew of the

harassment via their direct complaints, or via proof that the harassment was so

pervasive it gives rise to an inference of knowledge which can be imputed to the

employer. Id.

         Plaintiffs cannot prove all of the required elements because any alleged

harassment was neither sufficiently severe nor pervasive to alter the terms and

conditions of employment or create a discriminatorily abusive working

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environment. The Supreme Court has held for harassment to be actionable, the

“work environment must be both objectively and subjectively offensive, one that

a reasonable person would find hostile or abusive, and one that the victim in fact

did perceive to be so. Faragher v. City of Boca Raton, 524 U.S. 775, 787

(1998)(emphasis added). Courts look at the totality of the circumstances, “including

the frequency of the discriminatory conduct; its severity; whether it is physically

threatening or humiliating, or a mere offensive utterance; and whether it

unreasonably interferes with an employee’s work performance.” Id. at 787-88

(internal citations omitted). See also Allen v. Tyson Foods, 121 F.3d 642, 647 (11th

Cir.1997)); Harris v. Forklift Systems, Inc., 510 U.S. 17, 21-22 (1993).

      The Supreme Court opined that “teasing, offhand comments, and isolated

incidents” do not constitute discriminatory changes in terms and conditions of

employment. Faragher, 524 U.S. at 788 (citation omitted). In other words, the

“standards for judging hostility are sufficiently demanding to ensure that

[discrimination laws do] not become a general civility code.” Id.

      The “severe and pervasive” element is a strict threshold requirement for

Plaintiffs to even meet the initial showing of a hostile work environment. General

vulgarity or references to sex that are ‘indiscriminate in nature will not, standing

alone, generally be actionable.” Reeves, 594 F.3d at 807. The Supreme Court has

“never held that workplace harassment, even harassment between men and women,

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is automatically discrimination because of sex merely because the words used have

sexual content or connotations.” Id. Instead, the test is “whether members of one sex

are exposed to disadvantageous terms or conditions of employment to which

members of the other sex are not exposed. Reeves, 594 F.3d at 807, 809.

      Here, Plaintiffs cannot show that Defendant knew or should have known of

the alleged harassment and failed to take prompt remedial action because they never

reported the harassment. Even if Plaintiffs report the harassment, any alleged

harassment was neither sufficiently severe nor pervasive to alter the terms and

conditions of employment or create a discriminatorily abusive working

environment.

      Assuming, arguendo, that Plaintiffs have a valid hostile environment claim—

which they do not—Defendant is still entitled to summary judgment pursuant to

the Faragher-Ellerth affirmative defense. To successfully assert this defense, the

employer must satisfy two elements: “(a) that the employer exercised reasonable

care to prevent and promptly correct any sexually harassing behavior, and (b) that

the employee unreasonably failed to take advantage of any preventive or corrective

opportunities provided by the employer or to avoid harm otherwise.” Faragher v.

City of Boca Raton, 524 U.S. 775 (1998); see also Burlington Indus., Inc. v. Ellerth,

524 U.S. 765 (1998). These elements have been clearly satisfied.

      As to the first element, Plaintiffs admit that as part of their onboarding, they

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were given a copy of the Handbook. (Ford Dep. 39:16-20; Ex. A to Witt Decl.; Witt

Decl. ¶ 12). Plaintiffs also signed the Equal Employment Opportunity Policy

Statement. (Ex. B to Witt Decl.; Witt Decl. ¶ 13). The Handbook and EEO Policy

provide that any employee who believes they have been a victim of discrimination

or harassment must report it immediately. (Pappas Dep. 94:1-22, 94:23-95:4; Ex. C

to Witt Decl., Witt Decl. ¶ 14). Ford admitted that in his review of the Handbook,

he is aware of the policies regarding filing a complaint with SRB (Ford Dep. 40:8-

21). Here, SRB clearly “exercised reasonable care to prevent…harassing behavior.”

See Faragher, 524 U.S. at 807; Ellerth, 524 U.S. at 765.

      As to the second element, Plaintiffs admitted multiple times that they never

reported to HR any of the incidents they allegedly experienced claiming they do not

have HR’s number. Plaintiffs did not report the alleged incident about racial slurs

(Ford Dep. 60:3-14, 60:20-21); Witt’s alleged comment about “y'all can bang her

with y'all big black cock” (Hawkins Dep. 58:19-59:6); not being allowed to stop for

food before going to the jobsite (Hawkins Dep. 101:24-102:4); and not being

allowed to use the restroom (Hawkins Dep. 101:15-20; Witt Decla. ¶¶30-50).

      Even Ford admitted that he failed to follow policy that required him to

immediately report his complaints of discrimination and unlawful harassment in

writing to EEO Officer. (Ex. C to Witt Decl.; Ford Dep. 75:21-76:16). Plaintiffs

clearly “unreasonably failed to take advantage of any preventive or corrective

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opportunities provided by the employer.” See Faragher, 524 U.S. at 807; Ellerth,

524 U.S. at 765. Courts upheld the Faragher-Ellerth defense. See Madray v. Publix

Supermarkets, Inc., 208 F.3d 1290 (11th Cir. 2000), Walton v. Johnson & Johnson

Services, Inc., 347 F.3d 1272 (11th Cir. 2003) and Lawrence v. Wal-Mart Stores,

Inc., 236 F. Supp. 2d 1314 (M.D. Fla. 2002).

      Plaintiffs fail to establish a prima facie case of hostile work environment and

their claims are barred pursuant to the Faragher-Ellerth defense. Thus, summary

judgment should be granted in favor of Defendant.

   III.   Defendant is Entitled to Summary Judgment for Count III, VI , IX,
          XIV, XVII, XX, XI and XXII - Retaliation – Plaintiffs Cannot
          Establish All Three Elements of Their Retaliation Claim

      To establish a prima facie case of retaliation, Plaintiffs must show that: (1)

they engaged in statutorily protected activity; (2) they suffered an adverse

employment action; and (3) there is a causal link between the protected activity and

the adverse action. Bryan v. Jones, 575 F.3d 1281, 1307-08 (11th Cir. 2009). The

third provision must be proven “according to traditional principals of but-for

causation.” Univ. of Texas Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533 (2013).

This requires that the employee prove that the employer would not have taken the

adverse employment action but-for the employee’s statutorily protected activity. Id.

Plaintiffs cannot establish all three requisite elements.




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      As to the first element, Title VII’s anti-retaliation provision contains the

“opposition clause” 42 U.S.C. § 2000e-3(a). The opposition clause “prohibits

retaliation against an employee for opposing any practice made unlawful by Title

VII.” Valdes v. Miami-Dade Coll.,463 F. App’x 843, 846 (11th Cir. 2012) (per

curiam). Plaintiffs admitted multiple times that they never reported to EEO officer,

HR, Pappas, Witt, or Ruiz any of the incidents they allegedly experienced. (Ford

Dep. 60:3-14, 60:20-21; Hawkins Dep. 58:19-59:6, 101:24-102:4, 101:15-20).

Ultimately, Ford admitted that he failed to follow policy that required him to

immediately report his complaints of discrimination and unlawful harassment in

writing to EEO Officer. (Ex. C to Witt Decl.; Ford Dep. 75:21-76:16).

      As to the second and third elements, Plaintiffs were not subject to an adverse

employment action as they each voluntarily quit as discussed above. Even if they

did complaint to anyone at SRB per the protocol—which they did not—there is no

causal connection between the protected activity and voluntary termination.

Plaintiffs resigned as opposed to being discharged. (Witt Decl. ¶¶ 55, 59; Ex. A to

Witt Decl.).

      Plaintiffs fail to establish a prima facie case of retaliation. Thus, summary

judgment should be granted in favor of Defendant.




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   IV.    Defendant is Entitled to Summary Judgment for Count X and XXI –
          FLSA – Plaintiffs Failed to Establish a Prima Facie FLSA Action.
          Plaintiffs Cannot Establish the Failure to Pay Element of Their FLSA
          Claim

      To establish a claim for payment of overtime compensation under the FLSA,

Plaintiffs must establish the following: (1) they were employed by Defendant during

the time period involved; (2) Defendant was engaged in commerce or production of

goods for commerce or employed by an enterprise engaged in commerce or in the

production of goods for commerce; and (3) Defendant failed to pay the overtime

compensation required by law. 29 U.S.C. § 207(a)(1). Plaintiffs cannot establish the

third requisite element.

      Under FLSA, employees who sue for overtime compensation bears the burden

of proof by a preponderance of the evidence that their employer failed to properly

compensate them for their completed work. Sizemore v. Affordable Battery, Inc., 49

F.Supp.3d 1138 (S.D. Fla. 2014); Olson v. Star Lift, Inc., 709 F. Supp. 2d 1351 (S.D.

Fla. 2010); Laplante v. Lake Worth Terrace Rehabilitation, 725 F. Sup. 2d 1358

(S.D. Fla. 2010).

      Plaintiffs must prove the hours that they worked and the overtime to which

they are owed. Malbranche v. Art Hall Prot. Services, Inc., No. 03-22726-CIV, 2006

WL 5709120 (S.D. Fla. Dec. 20, 2006), aff'd sub nom. Malbranche v. Art Hall Prot.

Services, Inc., 258 Fed. App’x. 259 (11th Cir. 2007) (granting summary judgment

for the defendant and noting that the plaintiffs were guessing as to the hours that
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they worked, and thus would be guessing as to what they would be owed at trial).

To be entitled to overtime payments, Plaintiffs must prove that “(1) he or she worked

overtime without compensation and (2) the [Defendant] knew or should have known

of the overtime work.” Allen v. Board of Pub. Educ. for Bibb Cty., 495 F.3d 1306,

1314–15 (11th Cir. 2007); see also Reich v. Dep't of Conservation and Nat. Res., 28

F.3d 1076, 1082 (11th Cir. 1994);             Buttita v. DIRECTV LLC., No.

3:14CV566/MCR/EMT, 2017 WL 10456972, at *31 (N.D. Fla. Sept. 28, 2017).

      Plaintiffs can determine the amount of overtime for which they were not paid

through analysis of the employer’s records. When an employer’s records are

“inaccurate or inadequate and the employee cannot offer convincing substitutes,”

then an employee has carried his burden of proving that he has performed work for

which he was not properly compensated. Anderson v. Mt. Clemens Pottery Co., 328

U.S. 680, 687 (1946), superseded by statute on other grounds as stated in Carter v.

Panama Canal Co., 463 F.2d 1289, 1293–94 (D.C. Cir. 1972). “The burden then

shifts to the employer to come forward with evidence of the precise amount of work

performed or with evidence to negative the reasonableness of the inference to be

drawn from the employee’s evidence.” Id. at 687–88. See also Lamonica v. Safe

Hurricane Shutters, Inc., 711 F.3d 1299, 1315 (11th Cir.2013) (noting that if the

employer failed to keep time records, the burden on the employee to show that she




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worked overtime without compensation is “relaxed”). Jackson v. Corr. Corp. of Am.,

606 Fed. App’x. 945, 952 (11th Cir. 2015).

      Meanwhile, if the defendant kept accurate records of employee’s hours,

Plaintiffs could not use the relaxed burden-shifting scheme and Plaintiffs must prove

their damages with specificity. Solano v. A Navas Party Prod., Inc., 728 F. Supp. 2d

1334, 1344 (S.D. Fla. 2010)(quoting Myers v. The Copper Cellar Corp., 192 F.3d

546, 551–52 (6th Cir.1999)).

      Here, records are kept and it shows overtime was always paid. Defendant’s

records show Hawkins was paid 213.50 hours of overtime in the 7 months he worked

for Defendant. (Ex. F to Witt Decl.; Witt Decl. ¶ 23). Meanwhile, Ford was paid

129.50 hours of overtime in the 9 months he worked at SRB. (Ex. G to Witt Decl.;

Witt Decl. ¶ 24). Additionally, the job superintendent, Witt, who was at the jobsite

where Plaintiffs worked, declared that Plaintiffs were paid for all hours that they

actually worked, and he knows that because he observed them working and reviewed

their time and pay records. (Witt Decl. ¶ 22).

      Defendant inquired to Plaintiffs as to which hours they claim were not paid so

it could be corrected and paid but Plaintiffs refused to cooperate or provide

information. Instead, Plaintiffs sued Defendant and made accusations of forging

their signatures on the time sheets, which Ruiz denied (Ruiz Dep. 47:24-48:1). But

this is a red herring issue and is not dispositive of whether they were paid properly.

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The element to be satisfied under a FLSA claim is whether Defendant failed to pay

the overtime compensation required by law and not “who signed the time sheet.”

Plaintiffs were paid the correct number of hours worked as Witt and Ruiz have

observed Plaintiffs, and the rest of the crew, working at the job site. The entire crew

followed the same work schedule regardless of race/color. (Witt Decl. ¶ 25). The

time sheets were left in the company truck’s unit folder. Everybody was able to see

and verify their hours at any given time while at work. Importantly, the Department

of Transportation (“DOT”) has strict requirements for the time the work can be

conducted on the job site. (Witt Decl. ¶ 21). Because the DOT has these

requirements, only in certain circumstances can individuals work outside of those

hours—not for payroll purposes, but for traffic congestion purposes. (Id.). Here, Witt

and Ruiz complied with DOT requirements to ensure there were no fines levied by

the DOT. (Id.).

      Per 29 U.S.C. ¶ 201, FLSA was designed to aid the unprotected, unorganized,

and lowest paid of the nation’s working population and not to weaponize it against

employers, like Defendant, who has gone at lengths to make sure Plaintiffs were

paid correctly only to end up being sued.

      Plaintiffs fail to establish a prima facie FLSA claim. Thus, summary judgment

should be granted in favor of Defendant.




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   V.     Punitive Damages Should be Stricken as Plaintiffs Failed to Meet the
          Heightened Standard to Prove Them

        Punitive damage awards are allowed only in cases of intentional

discrimination, and not for an employment practice that is unlawful because of its

disparate impact. § 1981a(a)(1); Kolstad v. Am. Dental Ass'n, 527 U.S. 526, 534

(1999). But not every instance of intentional discrimination justifies punitive

damages award. To be entitled to an award of punitive damages Plaintiffs must prove

by a preponderance of the evidence that Defendant acted with either malice or with

reckless indifference toward Plaintiff’s federally protected rights. Id. at 536;

Goldsmith v. Bagby Elevator Co., 513 F.3d 1261, 1280 (11th Cir. 2008). Showing

reckless disregard means “failure to make adequate inquiry into whether conduct is

in compliance with the Act.” 5 C.F.R. § 551.104. A willful violation of the law

exists when the employer “disregarded the very possibility that it was violating the

statute.” Allen, 495 F.3d at 1323-24.

        Even if Defendant engaged in disparate impact practice—which it did not—

punitive damages still do not apply as Plaintiffs would be hard-pressed to prove

Defendant disregarded even the smallest possibility of violating the law. Especially

when Plaintiffs failed to report their discrimination complaints and when they did

complain about unpaid hours worked, Defendant actively sought Plaintiffs to resolve

their issues. Plaintiffs are not entitled to compensatory damages either as they did


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not seek treatment for emotional pain and mental anguish. Thus, Plaintiffs are not

entitled to punitive or compensatory damages.

   VI.    Plaintiffs Failed to Mitigate Damages

      Plaintiffs are “required to mitigate damages by being reasonably diligent in

seeking employment substantially equivalent to the position [they] [were] denied.”

Smith v. Am. Serv. Co. of Atlanta, Inc., 796 F.2d 1430, 1431 (11th Cir. 1986)(internal

citations omitted). Here, Plaintiffs failed their duty to mitigate damages because they

voluntarily terminated their positions at SRB as opposed to continuing to work there,

even though SRB wanted them to continue working there. (Witt Decl. ¶ 64).

Additionally, two of their purported subsequent employers denied ever employing

Plaintiffs. (Ex. 10, Attestation of No Records).

                                  CONCLUSION

      For the above reasons, Defendant respectfully requests this Court grant its

Motion for Summary Judgment and grant such further relief that the Court deems

just and proper.

      Respectfully submitted this 5th day of June, 2025.




                                     By: /s/ Brian D. Rubenstein
                                         BRIAN D. RUBENSTEIN
                                         Florida Bar No.: 16997

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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      Pursuant to Local Rule of Civil Procedure 7.1(F), I hereby certify that the

foregoing Defendant’s Motion for Summary Judgment contains 8,000 words,

inclusive of headings, footnotes, and quotations, but exclusive of case style,

signature block and Certificate of Service.

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 5th day of June, 2025, a true and correct

copy of the foregoing has been furnished by electronic filing with the Clerk of the

court via CM/ECF, which will send notice of electronic filing to all counsel of

record.


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                             Respectfully submitted,



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